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                                      EXHIBIT A

                                     Proposed Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)

                                                             Ref No.

         ORDER AUTHORIZING THE ASSUMPTION OF, AND ENTRY INTO, THE
                    CUSTODIAL SERVICES AGREEMENTS

                  Upon the motion (the “Motion”) 2 of FTX Trading Ltd. and its affiliated debtors

and debtors-in-possession (collectively, the “Debtors”), for entry of an order (this “Order”)

(a) authorizing Debtor West Realm Shires Inc., in its sole discretion, to assume the Prepetition

Custodial Services Agreement, (b) authorizing certain of the Debtors, in their sole discretion, to

enter into the Postpetition Custodial Services Agreements and (c) granting certain related relief;

and this Court having jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334

and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated February 29, 2012; and this Court being able to issue a final order

consistent with Article III of the United States Constitution; and venue of these Chapter 11 Cases

and the Motion in this district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this

matter being a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that

proper and adequate notice of the Motion and the relief requested therein has been provided in


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.
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    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Motion.




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accordance with the Bankruptcy Rules and the Local Rules, and that, except as otherwise ordered

herein, no other or further notice is necessary; and objections (if any) to the Motion having been

withdrawn, resolved or overruled on the merits; and a hearing having been held to consider the

relief requested in the Motion and upon the record of the hearing and all of the proceedings had

before this Court; and this Court having found and determined that the relief sought in the

Motion is in the best interests of the Debtors, their estates, their creditors and all other parties-in-

interest; and that the legal and factual bases set forth in the Motion establish just cause for the

relief granted herein; and after due deliberation and sufficient cause appearing therefor;

                  IT IS HEREBY ORDERED THAT:

                  1.    The Motion is GRANTED as set forth herein.

                  2.    The Debtors are authorized to enter into the Postpetition Custodial

Services Agreements pursuant to section 363(b) of the Bankruptcy Code. The Debtors are

authorized to act and perform in accordance with the terms of the Postpetition Custodial Services

Agreements, nunc pro tunc to November 11, 2022.

                  3.    Debtor West Realm Shires Inc. is authorized to assume the Prepetition

Custodial Services Agreement pursuant to section 365(a) of the Bankruptcy Code, nunc pro tunc

to the Petition Date. Debtor West Realm Shires Inc. is authorized to act and perform in

accordance with the terms of the Prepetition Custodial Services Agreement.

                  4.    The Custodial Services Agreements and any related agreements,

documents, or instruments may be modified, supplemented, or waived by the parties thereto in

accordance with the terms thereof, in each case without further order of the Court.

                  5.    The Debtors are authorized to make all payments due to the Custodian

under the Custodial Services Agreement, including the Upfront Fee and the Monthly Fee.




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                  6.     The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

                  7.     This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.

                  8.     This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the implementation of this Order.



 Dated: __________________
        Wilmington, Delaware                            The Honorable John T. Dorsey
                                                        United States Bankruptcy Judge




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